
PER CURIAM.
AFFIRMED. See Cobb v. State, 567 So.2d 554 (Fla. 1st DCA 1990); Huff v. State, 566 So.2d 945 (Fla. 1st DCA 1990). Fla.R.App.P. 9.315(a). We certify the following question to the supreme court as one of great public importance:
DOES A JEOPARDY VIOLATION RESULT FROM THE IMPOSITION OF A PROBATIONARY SPLIT SENTENCE WHEN THE LEGISLATURE HAS NOT EXPLICITLY AUTHORIZED THAT DISPOSITION IN THE SENTENCING ALTERNATIVES FOR § 921.087, FLA. STAT.?
SHIVERS, C.J., and SMITH and NIMMONS, JJ., concur.
